 Case 24-11361-amc          Doc 25-2 Filed 09/18/24 Entered 09/18/24 14:35:32                 Desc
                                  Service List Page 1 of 1



                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                        :
         Brett A Atkinson                     :       Chapter 13
                                              :       Case No.: 24-11361-AMC
                               Debtor.        :

                                 CERTIFICATE OF SERVICE

        I, Brad J. Sadek, Esq., certify that on the date indicated below I served a true and correct
copy of the Motion to Reinstate Case was served by electronic delivery or Regular US Mail to
the Debtor, the Trustee, all secured, priority and affected creditors per the address provided on
their Proof of Claims and on the following parties:

                                     Kenneth E. West, Esq.
                                   Standing Chapter 13 Trustee
                                        Electronic Service



                                                      Respectfully submitted,

                                                      /s/ Brad J. Sadek, Esquire
Dated: September 18, 2024                             Brad J. Sadek, Esquire
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